lease 2:17-cv-00959-APG-BNW Document 1 Filed 04/04/17 Page 1 of 4

| LEW BRANDON, JR., ESQ.
Nevada Bar No. 5880

2 || KRIS D. KLINGENSMITH, ESQ.
Nevada Bar No. 13904

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7 || Attorneys for Defendant,
ALBERTSONS, LLC

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

SILVIA SANDOVAL,
UW CASE NO.:
Plaintiff,

13 Vv.

i4 || ALBERTSONS, LLC d/b/a
ALBERTSONS; DOES I — X, and ROE
CORPORATIONS I - X, inclusive,

 

Defendants.
17 DEFENDANT, ALBERTSONS, LLC.’S NOTICE OF REMOVAL OF ACTION TQ
UNITED STATES DISTRICT COURT UNDER 28 USC § 1441 (a)

 

19 Defendant, ALBERTSONS, LLC., by its undersigned attorneys, LEW BRANDON, JR.,
20 || ESQ. and KRIS D. KLINGENSMITH, ESQ. of MORAN BRANDON BENDAVID MORAN,

21 hereby removes the above-captioned case to the United States District Court, Clark County,

22

Nevada, where the action is now pending, pursuant to 28 USC § 1441 (a) and states as follows:
23
04 l. The above entitled action was commenced in the Eighth Judicial District Court,
95 || Clark County, State of Nevada on February 2, 2017, bearing Case No. A-17-750493-C,. The

26 || action is now pending in the Eighth Judicial District Court, Clark County, State of Nevada.

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1 2. Plaintiff filed her initial Complaint on or about February 2, 2017. Plaintiffs

tN

Complaint fails to state that this case is one which is or has become removable. See Harris v.

as

Bankers Life & Cas. Co., 425 F.3d 689 (9th Cir. 2005),

4

3. On March 27, 2017, Plaintiff served upon Defendant, Albertsons, LLC., her
5
6 Petition for Exemption from Arbitration, wherein Plaintiff alleges that she sustained medical

7 |lexpenses of approximately Eighty-Seven Thousand One Hundred Sixty-Eight Dollars

8 ($87,168.00). This Notice of Removal was filed timely as it was filed within thirty (30) days of

9 || service of the Petition for Exemption from Arbitration upon Albertsons, LLC, which was the
. first motion, order or other paper from which it could first be ascertained that this case is one
10 which is or has become removable. See 28 U.S.C. 1446(b); Harris, 425 F.3d 689.

13 4, Pursuant to Fed, R. Civ. P. 6 (a), the last day of the thirty (30) day period set

14 || forth under 28 U.S.C. 1446(b) is April 26, 2017. See 28 U.S.C. 1446(b); Harris v. Bankers Life

IS II & Cas. Co., 425 F.3d 689 (9th Cir. 2005).

16
5, This action concerns an allegation that the Defendant was negligent in creating a
7
ig dangerous condition, causing injury to Plaintiff.
19 6. At the commencement of this action and at the time of the filing of this Notice of

20 || Removal, Plaintiff, SILVIA SANDOVAL was, and now is, a citizen of the State of Nevada.

2 7. At the commencement of this action and at all times herein, Defendant,

22
ALBERTSONS, LLC. was, and now is, a limited liability company duly organized and existing

23

04 under the laws of the State of Delaware with its principal place of business in Boise, Idaho, and
25 therefore, is a citizen of the State of Delaware and Idaho.

26 8. Upon information and belief, Plaintiff, SILVIA SANDOVAL’s medical specials

 

MIB 27 |! and unknown future medical specials are approximately Eighty-Seven Thousand One Hundred

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Sixty-Eight Dollars ($87,168.00). As a result, the amount in controversy exceeds Seventy-Five
Thousand Dollars ($75,000.00).

9, The United States District Court for the District of Nevada has original
jurisdiction pursuant to 28 U.S.C. § 1332 in that the parties are citizens of different States and
the amount in controversy exceeds the sum or value of Seventy-Five Thousand Dollars
($75,000.00) exclusive of interests and costs.

10. Accordingly, Plaintiff's Complaint is removal pursuant to 28 U.S.C. 1441, which
provides that a defendant may remove a case over which the federal court has original
jurisdiction.

11, A copy of all process and pleadings served upon the Defendant is attached hereto
as Exhibit “1.”

WHEREFORE, Defendant, ALBERTSONS, LLC., a Delaware limited liability
company respectfully requests that this action proceed in this Court as an action properly

removed to it.

DATED this 3" day of April, 2017.

  
  
 

AN BRANDON BENDAVID MORAN

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| _/sLevi Brandon, Jr=Esa.
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CERTIFICATE OF SERVICE
Pursuant to NRCP 5(b), I hereby certify that on the 3™ day of April, 2017, I served the
foregoing DEFENDANT, ALBERTSONS, LLC.’S NOTICE OF REMOVAL OF ACTION
TO UNITED STATES DISTRICT COURT UNDER 28 USC § 1441(a) via the Court’s
electronic filing and service systems to all parties on the current service list.

ALEX J. DE CASTROVERDE, ESQ.
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/s/ Dat ores-Caguna

An Employee of Moran Brando n Bendavid Moran

 

 

 

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